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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA


                                                    )
    UNITED STATES OF AMERICA                        )
                                                    )
                     v.                             )        Criminal No. 17-201 (ABJ)
                                                    )
    PAUL J. MANAFORT, JR.,                          )        UNDER SEAL
                                                    )
                          Defendant.                )
                                                    )

     DEFENDANT PAUL J. MANAFORT JR.’S REPLY AND MOTION TO
   RECONSIDER BASED ON THE SPECIAL COUNSEL’S SUPPLEMENTAL
MEMORANDUM WITH RESPECT TO THE COURT’S FEBRUARY 13, 2019 RULING

        Defendant Paul J. Manafort, Jr., by and through counsel, respectfully submits this reply

and motion to reconsider based on the supplemental memorandum filed by the Special Counsel’s

Office (“Special Counsel”) with respect to the Court’s February 13, 2019 ruling.

        1. Background

        On February 26, 2019, the Special Counsel filed a sealed supplemental memorandum

containing information that Mr. Manafort contends was subject to production under Brady v.

Maryland, 373 U.S. 83 (1983), and its progeny. The supplemental memorandum informed the

Court that a statement included in the Declaration the Special Counsel submitted on January 14,

2019, which the Court relied on when considering whether Mr. Manafort lied during his

cooperation, was not accurate.1



1
  The Special Counsel explains that Mr. Gates’ counsel made contact in response to the media coverage of
the breach litigation, which resulted in a meeting with Mr. Gates on February 15, 2019. The open question
is, therefore, when did Mr. Gates’s counsel make the initial contact? If the contact resulted from news
coverage of the breach litigation, it would likely have been the result of the February 7 release of the
redacted transcript of the hearing on February 4, 2019 (Doc. 500) and the attendant news coverage, because
the redacted transcript of the Court’s February 13, 2019 ruling was not released until February 15. (Doc.
514). This question of timing is not trivial. The Court should inquire about the timeline relating to the
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The Declaration stated:




Declaration,                         .

        At the February 4, 2019 hearing, based on this allegation, the Special Counsel represented

that




                                                                                             Transcript of

Hearing on February 4, 2019,

        Thus, the importance of                                                   to the Court’s ruling is

clear and cannot be overstated. Indeed, when discussing Mr. Gates’s testimony, given the serious

questions about his credibility, the Court stated:




development of this new information, particularly given the Special Counsel’s addition to the record as late
as February 12, 2019 (i.e., before the Court’s ruling) in an effort to support its theory.


                                                     2
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Transcript of the Court’s February 13, 2018 Ruling,

          As is clear from the statement above, the Court relied on the Special Counsel’s argument

that the



                                           Indeed, the Court focused on the importance of

in response to the defense argument that                                          Id.

          Based upon the recent filing, we now know that the Special Counsel’s argument on this

point—that

(Gov. Ex.                                                                       —is not supported by

the evidence. In fact, the

                                                                                    See Supplemental

Memorandum at 1-2.3 In light of this new information, Mr. Manafort asks the Court to reconsider

its prior ruling that Mr. Manafort lied when stating that

                                                                           .




2
    The Court also stated

                                                            Transcript of the Court’s February 13, 2019
Ruling, at
3
    The




                                                 3
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         2. Argument

         Contrary to the Special Counsel’s contention that there is still sufficient evidence in the

record to support the Court’s determination that Mr. Manafort lied about

      , the Special Counsel’s recent revelation fundamentally changes the state of the evidence. In

evaluating the evidence as it now stands, it is important to consider what Mr. Manafort said about

                     .

         First, in an interview of September 11, 2018, Mr. Manafort discussed the

                             and said that he

                                                          .

                                                                               .4

         Second, during his grand jury appearance, Mr. Manafort gave the following testimony in

response to Mr. Weissmann’s questions:




4
    See Gov.
                                                  4
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                               5
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See Gov. Ex. 4, p. 151, line 7 – p. 154, line 17 and p. 155, line 15 – p. 156, line 12.




                                                  6
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            Now, for the first time, the Court and the defense are advised that on February 15, 2019,

the Special Counsel re-interviewed Mr. Gates and he clarified his prior testimony. Mr. Gates stated

that the material in

                                                          .5 This statement is, in fact, consistent with

the Mr. Manafort’s position at the hearing and fails to support the Special Counsel’s argument.

Moreover, the Special Counsel has now acknowledged that it was in possession of



          . See Supplemental Memorandum, at 2 & Exhibit C. Apparently, the Special Counsel did

not review those                      prior to challenging Mr. Manafort’s explanation of

               . Even more troubling is the fact that Special Counsel did not question Mr. Gates about

this issue prior to determining that Mr. Manafort lied, filing the breach motion, or making

arguments to this Court.6

            Mr. Gates also stated




                                                            ”7

            Importantly, when the additional information provided by Mr. Gates is combined with his

prior statements and compared with Mr. Manafort’s statements in the grand jury, there is little




5
    See Gates 302, February 15, 2019, at 1.
6
 This failure is even more striking given that the Special Counsel interviewed Mr. Gates about this topic
on September 27, 2018, during the same period when it was conducting a series of interviews of Mr.
Manafort. See Gates 302, September 27, 2018
7
    Id.


                                                    7
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difference between their accounts. First, in recounting                                 meeting, Mr. Gates

stated in prior interviews that



                                                                     8
                                                                         Second, Mr. Manafort’s grand jury

testimony specifically says

                                                                                     .9 Third, in his earlier

interview, Mr. Manafort says that

                                            .10

           The Special Counsel’s                                   the one that provided the linchpin to its

otherwise unfounded theory—is the claim that

                                              .

           Indeed, Mr. Gates’s February 15, 2019 interview makes clear, for the first time, that




                                                            13
                                                                 Importantly, Mr. Gates specifically denies


8
    Gov.           at 5.
9
    Gov. Ex. 4, at p. 155, line 15 – p. 156, line 12.
10
     See Gov.              p. 5 ¶2.
11
     See Gates 302, February 15, 2019, at 1.
12




13




                                                        8
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                                                                                              .”15

           While Mr. Gates says




                                                                   .16

           The Special Counsel’s Office,                                            apparently failed to

fully and carefully interview Mr. Gates, choosing instead to develop a theory and run with it, rather

than confirming it with their main cooperating witness. This is particularly surprising given the

expectation that Mr. Gates would be vigorously challenged as a source of information. Moreover,

the Special Counsel did not review (or ignored)                          that were inconsistent with its

theory.

           Now, the Special Counsel, after convincing the Court to adopt and rely on its theory

                                                , in essence says that this monumental change in the

evidence does not undermine the Court’s ruling. In finding Mr. Manafort made intentional false

statements about                                         the Court specifically cited

                                     See Transcript of the Court’s February 13, 2018 Ruling,

Because this new information changes the balance of the evidence on the most significant finding




14
     See Gates 302, February 15, 2019, at 1.
15
     See


16
     See Gates 302, February 15, 2019, at 2.
                                                    9
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made by the Court –

                       – Mr. Manafort asks the Court to reconsider its prior ruling and find that

the Special Counsel has failed to carry its burden of proving that the defendant made false

statements about                           .

Dated: March 1, 2019                                Respectfully submitted,

                                                     /s/
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